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                        CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                      STÄTE OF LOUISIANA

             No. 2019-06200                                   DIVISION         "D"                      Section 12

                                                                 A.A. DOE

                                                                 VERSUS

                           ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC. ET AL

             FILED:
                                                                                          DEPUTY CLERK

                                           WRITTEN REASCINS FOR JUDGMENT

                      This matter was set for hearing before the Court on September 2'7,2019, pursuant to

            Declinatory Exception of Partiøl Lack of Jurisdiction Over the Subject Matter, Diìatary

            Exceptions o.f Nonconformity of the Petition              llith   the Requiremenîs of La. C.C.P. .4rt. 891,

             VøgLteness   or Ambíguit-v, Prenaturity, and Peremptory Exceptíons a.f No Cause af Action and No

             Ri.ght   of Action: and Motiotz to Syike b), Defenclants, The Roman Catholic Church of the

            Archdiocese of New Orleans, the Arehdiocese of New Orleans Indemnity, Inc., ancl Caiholic

            Mutual Relief Society of America.

                      Prior to the scheduled hearing Defendants expressed their desire to submit the issues on

            the briefs and waíved oral argument. Therefore, considering the law and argument providecl in the

            briefs, the Court issues these'"vritten reasons forjudgrnent.

            Backgrouncl/Procetlural History

                      This action arises out of a Catholic priest's alleged sexual abuse of Plaintiff, A.A. Doe.

            Defendant, ËIenry Brian      Highfill   was an ordained priest in the Roman Catholic Church, and in the

            n:id to late 1970s, Defenclant, Archdiocese of New Orleans placed Father Flighfill at several

            churches throughout Southeast Louisiana. Following transfers rvithin the Dioceses              of Southem

            Louisiana, Father Highfill was moved to England Air Force Base f¡om 1982 to 1984, rvhere he

            was assigned as a Chaplain.      ln   19'79,   Plaintiffjoined the United States Air Force Delayed Enlisted

            Progranr, ln the summer of 1982, Plaintiff relocated to England Air Force Base (where Father

            Highfill was    a   Chaplain). Plaintiff s allegations of sexual abuse stem f¡om his interactions with

            Father    I{iglrfill during his time in the Air Force. On June 12,2019, Plaínriff filed Petitíonþr

            Damages against Det'endants, The Roman Catholic Church of the Archdiocese of New Orleans,

            Archdiocese of New Orleans lndemnity, lnc,, Catholic M¡.rtual Relief Society of America, and

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            Vy'ritten Reasor:s for Judgtnent                                                                              EXHIBIT 15
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             Father   Highfill.   On August 1,2A19, Defèndants, The Roman Catholic Church of the Archdiocese

             of New Orleans, Archcliocese of New Orleans Indemnity, Inc., and Catholic Mutual Relief Society

             of America filed several Exceptions.

             Declinatory Exception of Partial Lack of Jurisdiction over the Subjecf Mafter

                      The Charter       for   the ProÍectíon of Children and Young People was published in Jr¡ne 2002

             by the United States Conference of Caiholic Bishops (USCCB) and was developed by the Ad Hoc

             Commìttee on Sexual Abuse of the USCCB. The Charter included special mandates for the

             protection of children. The First Amendment of the United States Constitution and Article I , Sec.

             4 of the Lor'¡isiana Constitution boih guarantee religious freedom and have been interpreted to

             fo¡bid courts fro¡n interfering in the ecclesiastical rnafters ofreligious groups. Roppolo v. Moore,

             93-2361 (La.App.4          cir.   1994) 644 So.2d   206,210,wrir deníed,650 So.2d 253 (La.1995). This

             prohibition extends to matters of religious disciplíne, faith or custom,        as   well   as to the appoíntment

             and removal of ministers. /d.

                      Defendants assert fhat Plaintiff is elaiming breach of Cannon Law and intemal church

            policies (i.e. The Charter) as a cause of action. Let this Court be clear
                                                                                                  -   Church policies are for

            the Church to     goveñ, and it is against the Constifution for secular corìrts to rule on these policies.

            However, this case is not about intemai church policies.             lt   ís a case about alleged child sexual

            abuse. And,      as such,   it is difficult to reason that this Court does not have subject matterjurisdiction

            over this matter.

            Dilatory Exception of Nonconformity of the Petiiion With the Requirements of La. C.C.P.
            Art.    891

                      This Exception is moot. On July 29,2019, the Court signed an Ex Parte Order allowing

            Plaintiff to file a Supplemental and Amending Petition, which identifies Plaintiff by name, bur

            placing the Supplemental and Amending Petition under seal. Plaintiff has rectified any objection

            as   to the challenge of fìling with a fictitions nan¡e.

            Dilatory Exception of Vagueness or Ambiguity

                      La' C.C'P' Art. 891 requires that a petitiou "contain a short, clear, and concise statement

            ofall   causes   ofaction arising out o{ and ofthe material facts of, the transaction or occu¡¡ence that

            is the subject rnatte¡ of the       litigation." An exception of vagueness will be           cienied   if   the petit.ion

            fairly infonns the defendant ofthe nature ofthe cause ofaction and includes sufficient paÍiculars

            fortlredefendanttoprepareadefense.            Josephv.ll/asserman,z01ó-0528,(La.App.4Cir.l2/7/16),

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             20ó So.3d 970,9'73; cíting Smart v. Gold, ['l/eems, Bruser,           St¿es   attcl RttndeÌ1,2006-1414, (La.App.


             3 Ctr.4/4107),955 So.2d 263,26?.

                      The allegations contained in the Petition are factually detailed and clear. Each section of

             the "causes    ofaction" incorporate the factual allegations made in the Petition and support the legal

             causes   ofaction     asse¡1ed   by the Plaintiff.

             Dilatory Exception of Prematurity

                      La. C.C.P. ArL. 423 states, in pertinent part, "When au action is brought on an obligation

             l¡efore the right to enforce it has accrued, the action shall be dismissed as premature, but it may be

             brought again afterthis right has accrued." Defendants have filed an Exception of Prematurity

             and cite Paragraphs 76 and77            of the Petition that allege the Defendants "...rvill likely seek to

             irnpugn Plaintiffls credibility, character, ancl veracity in direct contradiction of{the Charter)," and

             "should the Defendants defàuli on these recognized obligations of reparation, they will be in

            violation of The Charter. and wìll be responsible for additìonal darnages to Doe..." Defendants

             assert that   Plaintiffis âÎteÍìpting to holti thenr liable based on firture, "likely"          breaches   of certain

            alleged obligations under Church doctrine, and because Plaintiff is attempting to bring an action

            based on an alleged oblígation before the right to enforce               it    has accrueci, these allegations are

            premature under La. C.C.P. Art. 423.

                      unforiunately, Plaintiff fails to address Defendants'La. c.c,p. Art.423 argument in the

            Opposition. In the Opposition, Plaintiff states that Defcndants atgue thar La. R.S, 9:2800.9 is

            applicable     as an   initial requirement for pursuing   a case   ofsexual assault such    as   this one. However,

            this statement is untrue. Although the Defendants have attempted the La. R.S. 9:2B00.9 ârgum€nt

            in othe¡ similar suits before the Court, Defendants have not lrtilized the argurnerrt in this action.

            Peremptory Exceptions of No Cause of Action

                      The exceptíon ofno cause ofaction "fests the legal suffìciency ofa petition by examining

            whether, based upon tlre facts alleged in the pleading, the law affords the piaintiff              a r-emedy.,'Koc,å

            v. convenantHouseNew orleans,2012-a965, (La.App.                     acir.2/6/r3),109 so.3d 971,972;citing
            luÍeckstroth v. LouÌsiana Dept. of rransp. & Dev., a7 -0236, (La.App. 4                 cir.   627101), 962 so.2d

            494,492.

                      Louisiana law recognizes        Plaintifls right to pursue claims under the causes ofactions that

            were specifically pled in the Petition, specificalty, vicarious liability, public nuisance, fraudulent



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             conceahnent, negligent infliction of emotional distress, and ir"rvasion of privacy. After a revie,,v         of

             rhe Petition, fhis Court finds that   Plaintiff has adequately alleged the requirernents of these claims.

             Plaintiffshould have the opportunity to conduct discovery and develop his case based on what he

             has pled in his Petition.


             Peremptory Exception of No Right of Action

                      The exception of no right of action is designed to test r,vhether the plainfíff has a
                      real and actual interest in the action. La. C.C.P. att.927(5). The function olthe
                      exception of no right of action is to determine whether the plaint'iff belongs to the
                      class of persons to whorn the larv grants the cause of action asserted in the suit.
                      Babinea¿oi v. Pernie-Baíley Drilling Co., 261 La. 1080, 262 So.2d 328 (1972). The
                      exception ofno right ofaction assumes that the petition states a valid cause ofaction
                      f'or some person and questions whether the plaintiffin the parficular case has a legal
                      interest in the subject matter of tlie litigation.

            Hnrvey v. Cole,2002-1104, (La.App. 4 Cir. 4/30/03), 845 So.2d 591, 595.

            Defendants have filed an Exception of No Right of Action asserling (1) Plaintiff has attempted to

            assert a breach of conkact claim based on The Charter, which          Plaintiff is neither   a   party nor third

            party beneficiary; and (2) Plaintiffhas pled certair.r allegations regarding the Alchdíocese's alleged

            actions or inactions with respect to other alleged victims besides Plaintiff himself.

                      Although Defendants naintain that Plaintiff is attempting to asselt a breach of contract

            claim based on The Charter that Plaintiff is neither a party nor third party benefrciary, Plaintiff

            refutes Defendants'      posilion. In his Opposition, Plaintiff   states that he has nor proposed that the

            Cltarter is a legal contract, nor does his Petition consider the Charter to be a contract. The Court

            does not believe that the     Clnrter is a contract, nor that Plaintiff is utilizing tbe Charter to assen     a


            breach of contract      clailn. In the Petition, Plaíntiffutilizes   the Charter to demonstrate that the

            Cl'rurch has a process     ofhow it handles allegations ofclergy sexual      abuse, and to assert rhat the

            Clru¡clr has not followed its own practices under the Clzarter. As an alleged abuse victim,            plaintiff

            has   a 1egal   interest in thìs rratter; therefore, he has aright ofaction against the Defendants.

                     As it relates to Defendants'asseftion that Plainiiffhas pled certain allegations regarding

            the Archdíocese's alleged actions or inactions with respect to other alleged victirns besides

            Plainriff himself, i.e. Victirn X, the Court does not believe it is Plaintiff s intentions to asserr any

            claims on behalf of Victim X or any other victims. Rather, Plaintiff uses Victim X's situation to

            provide context on the alleged actions ofthe A¡chdiocese to support his case. plaintiffshouid
                                                                                                          be

            pennitted to plead supporting facts to assist him in asse¡ting his allegations in the petitio¡.




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             Motion to Stril(e

                     La. C.C.P.     Art. 964   states, "The court on motion     of   a party or on   its own rnotion may at

             any time and afte¡ a hear'íng order stricken       from any pleading any insufficient demand o¡ defense

             or any redundant, immaterial, impertinent, or scandalous matter." Plaintiff s Petition includes

             allegations regarding Victim        X,    and the A¡chdiocese's response to the reports of his abuse.

             Defendants assert that     Plaintifls references to Victim X      and his alleged abuse have no bearing on

             Plaintifls own claims, and Plaintiff has no right to assert his clairns.

                     As stated above, Plaìntiff should be permitted to plead supporting facts to assist him in

             asserting his allegations in the Petition. It is      Piaintiffs contention that the allegations regardíng

             Victim X explain the fuIl account of his clairns, and the Defendants should not control the context

             of his allegations and explanatiorr of his clairns. At this early stage of litigation, Plaintiffshoi.rld

             be given the opporrunity to       fully   assert his allegations, and as the discovery process progresses,

             each side   will   be able to explore the clairns and defenses    ofthe opposing side.




                READ, RENDERED, AND SIGNED on the                          Wl                               2019, in NE.W
                                                                                           "Ocrober,
             ORLEANS, LOUISIANA.



                                                         AKISHA ERVIN-KNOTT




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